Case 2:16-cv-02859-CAS-PLA Document 530 Filed 06/05/18 Page 1 of 2 Page ID #:22476




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                       UNITED STATES DISTRICT COURT
   18         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   19    MACOM TECHNOLOGY                       Case No. CV 16-02859 CAS (PLAx)
   20    SOLUTIONS HOLDINGS INC. and             JOINT STIPULATION
         NITRONEX, LLC,                          REGARDING DEFENDANTS’
   21                                            SECOND MOTION TO COMPEL
                                                 DISCOVERY RESPONSES AND
   22                                            PRODUCTION OF DOCUMENTS
                          Plaintiffs,
   23                                           Mag. Judge: Hon. Paul L. Abrams
               v.
   24                                           Hearing Date: June 27, 2018
         INFINEON TECHNOLOGIES AG, et           Hearing Time: 10:00 a.m.
   25                                           Courtroom: C, 8th Floor
         al.,
   26
                          Defendants.           Discovery Cutoff: June 29, 2018
   27                                           Pretrial Conference: March 4, 2019
   28                                           Trial Date: March 26, 2019
Case 2:16-cv-02859-CAS-PLA Document 530 Filed 06/05/18 Page 2 of 2 Page ID #:22477




     1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
     2        PLEASE TAKE NOTICE that on June 27, 2018, at 10:00 A.M., or as soon
     3 thereafter as this matter may be heard, in the courtroom of the Honorable Paul L.
     4 Abrams, located in the Roybal Federal Building and United States Courthouse, 255
     5 E. Temple Street, Courtroom 780, 7th Floor, Los Angeles, CA 90012, Defendants
     6 Infineon Technologies AG (“Infineon AG”) and Infineon Technologies Americas
     7 Corporation (“Infineon Americas”) (collectively, “Defendants”) will and hereby do
     8 move this Court to compel Plaintiff MACOM Technology Solutions Holdings
     9 (“MACOM” or “Plaintiff,” and collectively with Nitronex, LLC, “Plaintiffs”) to
   10 respond to Defendants’ discovery requests.
   11         The parties discussed, by telephone, the grounds of Defendants’ motion on
   12 January 25, 2018, March 26, 2018, April 9, 2018, May 14, 2018, May 15, 2018, and
   13 May 18, 2018. The parties could not reach a resolution and therefore file the
   14 following Joint Stipulation pursuant to Civil Local Rule 37-2.
   15
   16    Dated: June 5, 2018                  JEFFERY D. BAXTER
                                              BAKER BOTTS LLP
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                                              By: /s/ Jeffery D. Baxter
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   22                                         ATTORNEY FOR DEFENDANTS
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